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                                                                     [Doc. No. 299]

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  STATE NATIONAL INSURANCE COMPANY,            :
                                                   Civil No. 08-5128 (NLH/AMD)
   Plaintiff/Counterclaim Defendant, :

                v.                             :

  THE COUNTY OF CAMDEN,                        :

   Defendant/Counterclaim Plaintiff. :

  ---------------------------------- :
  THE COUNTY OF CAMDEN,
                                     :
   Third-Party Plaintiff/Third-Party
       Counterclaim Defendant,       :

                v.                             :

  SCIBAL ASSOCIATES, INC.,                     :

   Third-Party Defendant/Third-Party :
       Counterclaim Plaintiff.
  ---------------------------------- :
  SCIBAL ASSOCIATES, INC.,
                                     :
   Fourth-Party Plaintiff,
                                     :
            v.
                                     :
  COMMERCE INSURANCE SERVICES, INC.,
                                     :
   Fourth-Party Defendant.
  __________________________________ :

                                         ORDER


                THIS MATTER comes before the Court by way of motion [Doc.

  No.    299]    of      Plaintiff,    State       National   Insurance     Company

  (hereinafter,         "State     National"),      seeking   sanctions    against

  Defendant,         County   of   Camden   (hereinafter,      the    "County").

  Specifically, State National requests adverse inferences, and an
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  award of attorneys' fees and costs it incurred in connection with

  demonstrating the County's alleged spoliation of evidence in this

  case. The Court has considered the submissions of the parties, and

  held oral argument on the motion on November 5, 2010.              For the

  reasons that follow, the Court grants in part and denies in part

  State National's motion.

              As the District Court previously noted, the background of

  this case "concerns the determination of which entity or person is

  liable to pay for a multi-million dollar state court jury verdict

  in favor of a plaintiff, Nicholas Anderson, who sued the County of

  Camden, New Jersey for injuries he sustained when he drove off the

  road and into a guardrail owned and maintained by the County."

  (Op. [Doc. No. 270] 3, June 25, 2010.)          While cross-appeals were

  pending in state court, the County and Mr. Anderson entered into a

  settlement agreement of the underlying litigation (hereinafter,

  "the Anderson litigation"). (See State National's Br. in Suppt. of

  Mot. to Compel Settlement Documents [Doc. No. 311-1] 1.)                 In

  asserting claims against the County, State National generally

  contends "that the County breached the insurance contract [in

  dispute] by failing to adequately investigate and defend the

  Anderson" litigation.       (Br. in Supp. of Mot. for Sanctions on

  Behalf of State National [Doc. No. 299-1] (hereinafter, "State

  National's Sanctions Br."), 4.) The County has filed counterclaims

  for breach of the insurance contract.         (Second Am. Answer of the


                                       2
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  County of Camden with Affirmative Defenses and Counterclaims [Doc.

  No. 135] 20-30, ¶¶ 1-51.)

               The present motion for sanctions [Doc. No. 299] centers

  around the County's alleged failures concerning preservation of

  electronically stored information (hereinafter, "ESI").                           State

  National generally argues that (1) the County had a duty to

  preserve all discoverable information in this case as early as

  October 15, 2008, when the County reasonably anticipated litigation

  with State National based on a letter sent by the County; (2) the

  County and its attorneys breached that duty by failing to issue a

  litigation hold letter, failing to disable the automatic deletion

  system with respect to the County's email exchange server, and

  failing to maintain daily backup tapes of its email exchange server

  before the tapes were overwritten and reused; (3) this breach by

  the County resulted in the permanent deletion and destruction of

  potentially relevant information that could have been damaging to

  the County's case; and (4) the evidence that was destroyed or

  deleted, "if available today, would demonstrate that the County

  failed      to     adequately      investigate       and   defend      the     Anderson

  litigation."         (State     National's      Sanctions    Br.    2,   4.)      State

  National asserts that "[t]he County's actions demonstrate a failure

  to   take    any    affirmative      action     to   preserve   clearly        relevant

  information        ...   [which]    alone   warrants       sanctions     against   the

  County."     (Id. at 11.)       State National also asserts that sanctions

  are warranted despite the County's "belated attempts to preserve
                                              3
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  information" in March of 2009 because these attempts to image

  various computer hard drives were insufficient to satisfy the

  County's preservation duty where the "relevant information had

  already been     deleted."     (Id.   at   15-17.)     Accordingly, State

  National    seeks   "an   adverse   [spoliation]     inference   be   imposed

  against the County ... [and] further requests reimbursement of its

  reasonable attorneys' fees and costs related to the time and effort

  that State National was forced to expend pursuing discovery of the

  destroyed information and in proving that the County ... breached

  its duties to preserve information."        (Id. at 11.)    State National

  seeks fees and costs in excess of $70,000, including legal fees in

  the amount of $56,476 for preparation of the present motion.             (See

  Certification of Michael S. Levin, Esq. dated September 24, 2010

  [Doc. No. 299-4] ¶¶ 13-18.)

              In opposition to State National's motion for sanctions,

  the County first argues that "the earliest date on which the County

  could have anticipated litigation [with] State National was when

  th[is] lawsuit was filed on October 20, 2008" because at the time

  the County issued its October 15, 2008 letter to State National,

  the County "anticipated that State National would comply with its

  contractual obligation to protect the County against an adverse

  verdict."    (Br. of the County in Opp'n to Mot. for Sanctions [Doc.

  No. 316] (hereinafter, "County's Opp'n"), 21.)             The County also

  asserts that there is no basis for sanctions in this instance

  because there is no "foundational evidence to establish that
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  additional emails not produced by the County actually exist[,]"

  since State National has not demonstrated that "attorneys in the

  Office of County Counsel regularly review and discuss case via

  email" nor produced "a single email in its possession from the time

  frames [in question] ... that was not part of the County's document

  production."      (Id. at 22-23) (emphasis omitted).                  The County

  further contends that the Court cannot make a finding of spoliation

  in this case and should not impose an adverse spoliation inference

  because State National has failed to present evidence that the

  County acted with specific intent or bad faith to destroy relevant

  evidence.    (Id. at 22.) The County also argues that State National

  has not been prejudiced because State National took "full advantage

  of [the] opportunity to depose the County individuals who would

  have been privy to any conversations regarding the Anderson"

  litigation.     (Id. at 23.)    Finally, the County contends that State

  National's attorneys' fees and costs are "[g]rossly [e]xcessive and

  [i]nappropriate"     with   respect    to   deposition       costs,   transcript

  costs, billable hour rates, and the time spent for depositions and

  preparing the instant motion.         (Id. at 27-28.)

              In reply, State National asserts that the County "does

  not   dispute   that   it   failed    to    implement    a    litigation    hold

  concerning information relevant to the Anderson" litigation, and

  further argues that the County has conceded "that it did absolutely

  nothing to preserve e-mails resident on its network at the time of

  the Anderson verdict."         (State National's Reply Br. in Supp. of
                                         5
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  Mot. for Sanctions. [Doc. No. 323] (hereinafter, "State National's

  Reply"), 1-2.)      State National also contends that the County's

  opposition fails to address that the County breached a duty by not

  preserving relevant information, and attempts to improperly shift

  the focus to whether State National has proven that the disputed

  emails exist, despite case law to the contrary.         (State National's

  Reply 2.)     State National argues that regardless of the precise

  date on which the County reasonably anticipated litigation with

  State National and the duty to preserve information arose -- either

  October 15, 2008 or October 20, 2008 -- "the County breached its

  duty because it never implemented a litigation hold and it never

  suspended its automatic e-mail deletion functions, nor did the

  County prepare a duplicate set of backup tapes or remove from its

  regular tape rotation those tapes that contained e-mails or other

  relevant ESI as of October 2008." (Id. at 6-7) (emphasis omitted).

  Contrary to the County's argument that State National must prove

  fraud or bad faith by the County, State National         asserts that "an

  adverse inference is appropriate unless the County can prove that

  the destruction was accidental[,]" and that proof of accidental

  destruction is lacking here because the County "knowingly and

  willfully failed to disable the automatic deletion function, and

  knowingly and willfully continued to recycle its backup tapes."

  (Id. at 10) (emphasis omitted).       State National also contends that

  its attorneys' fees and costs are not excessive in light of the

  numerous briefs, letters, and conferences necessitated by "the
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  County's failure to comply with its ESI discovery obligations" over

  the fifteen-month period leading up to the filing of the instant

  motion.    (Id. at 15.)

              "Spoliation is 'the destruction or significant alteration

  of evidence, or the failure to preserve property for another's use

  as evidence in pending or reasonable foreseeable litigation.'"

  Bensel v. Allied Pilots Ass'n, 263 F.R.D. 150, 152 (D.N.J. 2009)

  (citing West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d

  Cir. 1999)).     Further, the Court has the authority to sanction a

  party for spoliation of evidence under the Federal Rules of Civil

  Procedure and under the Court's inherent powers.            Mosaid Techs.

  Inc. v. Samsung Elecs. Co., 348 F. Supp. 2d 332, 335 (D.N.J. 2004)

  (citing Scott v. IBM Corp., 196 F.R.D. 233, 247-48 (D.N.J. 2000)).

  However, prior to the imposition of sanctions for spoliation, the

  Court must initially determine "whether the duty to preserve

  evidence has been triggered." Kounelis v. Sherrer, 529 F. Supp. 2d

  503, 518 (D.N.J. 2008).      "An independent duty to preserve relevant

  evidence arises when the party in possession of the evidence knows

  that litigation by the party seeking the evidence is pending or

  probable and the party in possession of the evidence can foresee

  the harm or prejudice that would be caused to the party seeking the

  evidence if the evidence were to be discarded."             Id.; see also

  Bensel, 263 F.R.D. at 152 ("While there is no duty to keep or

  retain every document in the party's possession, 'even in advance

  of litigation, it [a party] is under a duty to preserve what it
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  knows or reasonabl[y] should know, will likely be requested in

  reasonably foreseeable litigation.'") (citation omitted).                  Where

  "the duty to preserve evidence has not been triggered at the time

  the evidence was destroyed, then there can be no spoliation."

  Kounelis, 529 F. Supp. 2d at 518.

              The duty to preserve evidence attaches when the party in

  possession of the evidence knows or reasonably should know that

  litigation is pending or probable.            See Kounelis, 529 F. Supp. 2d

  at 518; Bensel, 263 F.R.D. at 152.                  Once a party reasonably

  anticipates or knows of pending litigation and the duty to preserve

  has   attached,    a   party    "must       suspend    its   routine   document

  retention/destruction policy and put in place a 'litigation hold'

  to ensure the preservation of relevant documents."              sanofi-aventis

  Deutschland GmbH v. Glenmark Pharm. Inc., No. 07-CV-5855, 2010 WL

  2652412, at *3 (D.N.J. July 1, 2010) (citing Major Tours, Inc. v.

  Colorel, No. 05-3091, 2009 WL 2413631, at *2 (D.N.J. Aug. 4,

  2009)); see also Crown Castle USA Inc. v. Fred A. Nudd Corp., No.

  05-CV-6163T, 2010 WL 1286366, at *10 (W.D.N.Y. Mar. 31, 2010)("Once

  the duty to preserve has attached, a party should institute a

  litigation     hold    and     'suspend       its     routine   document    and

  retention/destruction policy.'") (citation omitted).

              After the Court determines that the duty to preserve

  evidence exists, the Court must examine whether sanctions should be

  imposed for spoliation.        See Kounelis, 529 F. Supp. 2d at 518; see

  also TelQuest Int'l Corp. v. Dedicated Bus. Sys., Inc., No. 06-
                                          8
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  5359, 2009 WL 690996, at *3 (D.N.J. Mar. 11, 2009) ("Having

  determined     that    [d]efendants      violated    their       duty   to   preserve

  evidence,    the      Court   now   turns   to    selecting        an     appropriate

  sanction.")1      Federal courts have imposed a variety of sanctions

  for   spoliation      including:    "dismissal      of     a    claim   or   granting

  judgment in favor of a prejudiced party; suppression of evidence;

  an adverse inference, referred to as the spoliation inference;

  fines; and attorneys' fees and costs."              Mosaid, 348 F. Supp. 2d at

  335 (citations omitted).         Dismissal of a claim and suppression of

  evidence are considered the most drastic sanctions and should only

  be imposed in "the most extraordinary of circumstances."                     Id.   The

  Third   Circuit       has   delineated    three     "key       considerations"     for

  determining whether such drastic sanctions are appropriate in a

  particular case. See Schmid v. Milwaukee Elec. Tool Corp., 13 F.3d

  76, 79 (3d Cir. 1994).          Specifically, a court must consider "(1)

  the degree of fault of the party who altered or destroyed the

  evidence; (2) the degree of prejudice suffered by the opposing

  party; and (3) whether there is a lesser sanction that will avoid

  substantial     unfairness     to   the   opposing       party     and,    where   the

  offending party is seriously at fault, will serve to deter such

  conduct by others in the future."           Id.

  1. The Court notes that "[i]n a diversity lawsuit such as this
  one, federal law governs the imposition of spoliation sanctions
  because they constitute an evidentiary matter. Although federal
  law governs, the Court may look to state law for guidance to the
  extent that it is consistent with federal law." Point Blank
  Solutions, Inc. v. Toyobo Am., Inc., No. 09-61166, 2011 WL
  1456029, at *8 (S.D. Fla. Apr. 5, 2011).
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                In   this    case,     State   National    seeks   as    sanctions

   spoliation inferences and attorneys' fees and costs.                    A jury

   instruction on the spoliation inference would permit the jury to

   infer "that       the   destroyed    evidence   might   or   would   have    been

   unfavorable to the position of the offending party."2                See Scott,

   196 F.R.D. at 248 (declining to exercise the court's inherent

   sanctioning powers, but considering as a "second inquiry ...

   whether the[] circumstances of spoliation, although not rising to

   the level of sanctionable conduct, should nevertheless give rise to

   a jury instruction regarding the spoliation inference.").                   "When

   the contents of a document are relevant to an issue in the case,

   the spoliation inference is nothing more than the common sense

   observation that a party who destroys relevant evidence did so out

   of a well-founded fear that the contents would harm him."                    Id.

   (citing Brewer v. Quaker State Oil Ref. Corp., 72 F.3d 326, 334 (3d

   Cir. 1995)).      Courts have employed a four-factor test to determine

   whether an adverse inference is appropriate.            Mosaid, 348 F. Supp.

   2d at 336.    These factors are:       (1) the destroyed evidence must be

   within the offending "party's control ...;" (2) "it must appear

   that there has been actual suppression or withholding of the

   evidence...;" (3) the "evidence destroyed or withheld was relevant


   2. The Court notes that State National's amended complaint did
   not include a jury demand (See Second Am. Compl. [Doc. No. 358]),
   but that the County's counterclaim for breach of contract
   includes a jury demand (Second Am. Answer of the County of Camden
   with Affirmative Defenses and Counterclaims [Doc. No. 135] 20-30,
   ¶¶ 1-51; 42.)
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   to the claims or defenses;" and (4) "it was reasonably foreseeable

   that the evidence would later be discoverable."            Mosaid, 348 F.

   Supp. 2d at 336 (citations omitted); see also Kounelis, 529 F.

   Supp. 2d at 520.

               Initially, the Court notes that the parties do not

   dispute that the County has a duty to preserve evidence in this

   case, although the precise date when the duty was triggered is

   disputed.    (See State National's Sanctions Br. 8; County's Opp'n

   21.)   State National asserts that the County's duty to preserve

   evidence was triggered on October 15, 2008 -- the date of the

   County's letter to State National. (See State National's Sanctions

   Br. 8; County's Opp'n      21.)3   In its October 15, 2008 letter, the

   County expressly stated that State National's failure to settle

   within the policy limits give the County "no choice but to pursue

   whatever actions [were] available contractually." (See Letter from

   Howard L. Goldberg, Assistant County Counsel, Ex. C [Doc. No. 299-

   2] 11.)     The County asserts that it could not have reasonably

   anticipated litigation with State National upon the delivery of the


   3. In the October 15, 2008 letter to State National, the County
   represents that (1) the plaintiff's attorney in the Anderson
   litigation formally demanded $10,000,000.00 to settle that
   litigation; (2) the County was prepared to tender its $300,000.00
   retention amount; (3) a "substantial offer" needed to be made on
   either October 15th or the morning of October 16th to settle the
   Anderson litigation because the County's exposure "may well
   exceed the $15,000,000.00 policy limits" since it was likely the
   jury would return a verdict for the plaintiff; and (4) the County
   recommended settling the case within the policy limits to avoid
   the risk of an excess verdict. (See Letter from Howard L.
   Goldberg, Assistant County Counsel, Ex. C [Doc. No. 299-2] 11.)
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   October   15,    2008    letter   on   that   date,   because     "the   County

   anticipated that State National would comply with its contractual

   obligation to protect the County against an adverse verdict."4

   (County's Opp'n 21.)         The County argues that the earliest date on

   which the County could have anticipated litigation with State

   National was October 20, 2008, the date this lawsuit was filed.

   (Id.)

              In    the    context   of   this   motion, the    Court     need not

   determine the precise trigger date.           Rather, the Court finds that

   the duty to preserve arose no later than October 20, 2008. See also

   Crown Castle USA, 2010 WL 1286366, at *10 (recognizing that the

   obligation to preserve evidence arose no later than the date on

   which plaintiff commenced the lawsuit).          Thus, the County was also

   under the obligation to implement a litigation hold, including the

   suspension of its routine document retention/destruction policy to

   ensure the preservation of relevant documents, by no later than

   October 20, 2008.        Major Tours, 2009 WL 2413631, at *2 ("Once a

   party   reasonably      anticipates    litigation,    it   must   suspend   its

   routine document retention/destruction policy and put in place a

   litigation      hold    to    ensure    the    preservation       of   relevant

   documents."); see also Crown Castle USA, 2010 WL 1286366, at *10

   4. The Court notes that the County's October 15, 2008 letter
   specifically states that "[a] failure to [settle the Anderson
   litigation within the policy limits] may well put the County at
   risk of an excess verdict, in which case [the County] will have
   no choice but to pursue whatever actions are available
   contractually." (See Letter from Howard L. Goldberg, Assistant
   County Counsel, Ex. C [Doc. No. 299-2] 11.)
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   ("Once the duty to preserve has attached, a party should institute

   a    litigation       hold     and     'suspend         its    routine     and

   retention/destruction policy.'") (citation omitted); FED . R. CIV . P.

   37, Advisory Committee Notes to 2006 Amendments ("Good faith in the

   routine operation of an information system may involve a party's

   intervention to modify or suspend certain features of that routine

   operation to prevent the loss of information, if that information

   is subject to a preservation obligation. ... When a party is under

   a duty to preserve information because of pending or reasonably

   anticipated litigation, intervention in the routine operation of an

   information    system   is   one   aspect   of   what    is   often   called   a

   'litigation hold.'")         Here, the County failed to implement a

   litigation     hold     or    to     suspend     its      routine     document

   retention/deletion policy after the duty to preserve attached no

   later than October 20, 2008.

              This failure to implement a litigation hold and suspend

   its routine deletion policies persisted even after the County

   received a letter from State National's counsel on November 24,

   2008 specifically requesting a litigation hold.                 Moreover, in

   addition to its failure to implement a litigation hold and suspend

   its document retention/deletion policy, the County delayed its

   attempts to preserve such information until March 23, 2009 when the

   computers of several County employees and the County's Microsoft

   Exchange server were forensically imaged.          (County's Opp'n 6.)


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               The County alleges that its email system, as it operated

   in 2008, included an organization-wide, automatic deletion feature

   whereby the system automatically deleted emails from the County's

   Microsoft Exchange Server.       (County’s Opp’n 8.)      As a result of

   this automatic deletion system, emails in a user's "inbox" were

   only stored on the server for a period of ninety (90) days, after

   which those inbox emails were deleted automatically.                (Id.)

   Similarly, emails in a user's "sent box" were only stored on the

   server for forty-five (45) days before they were automatically

   deleted.   (Id.)    With respect to emails in a user's "deleted box",

   those emails remained on the server for only thirty (30) days

   before being automatically deleted.        (Id. at 8-9.)     However, any

   time a user moved an email from either the inbox, the sent box, or

   the deleted box, into a "PST" file in Microsoft Outlook, this

   prevented the email from being subjected to the automatic deletion

   system.    (Id. at 9.)    According to the County, emails that were

   moved into PST files were essentially moved onto the user's C-

   drive.    (Id.)    Consequently, if a proper litigation hold had been

   implemented on October 20, 2008, inbox emails received on or after

   July 22, 2008; sent box emails sent on or after September 5, 2008;

   and deleted box emails deleted on or after September 20, 2008 would

   be preserved.      Accordingly, the Court finds that the County had a

   duty to preserve evidence in this case, but failed to implement a

   litigation hold in order to preserve such evidence.


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              In light of the Court's finding that the County had a

   duty to preserve evidence and failed to implement a litigation hold

   in order to meet its duty, the Court now turns to whether sanctions

   should be imposed for spoliation. State National has the burden of

   demonstrating that the factors for an award of an adverse inference

   have been met.    See Crown Castle USA, 2011 WL 1456029, at *9 ("The

   plaintiff, as the moving party on a spoliation motion, has the

   burden of proof.")

              Turning to the spoliation inference factors, the Court

   finds that the County's failure to preserve emails of its employees

   satisfies factor one.     There is no dispute that the emails of the

   County Counsel's Office were within the control of the County.           In

   addition, State National meets the fourth factor as the Court finds

   that discovery of email of county employees who were involved in

   the   Anderson   litigation    was   reasonably    foreseeable    in   this

   insurance dispute.

              The major dispute in this motion centers on factors two

   and three.    With regard to the second factor -- whether there has

   been "actual suppression" -- the "district courts within the Third

   Circuit are split regarding the showing necessary to satisfy the

   'actual suppression' requirement."         Arteria Prop. PTY. Ltd., v.

   Universal Funding v. T.O., Inc., No. 05-4896, 2008 WL 4513696, at

   *4 (D.N.J. Oct. 1, 2008).         The County, relying on Bensel, 263

   F.R.D. at 153, and a number of other cases, asserts that the Court

   must find bad faith and intentional conduct in order to impose
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   sanctions.   (County's Opp'n 16-19.)        In Bensel, the District Court

   declined to issue a spoliation inference or to impose any other

   sanctions because the court did not find any evidence of bad faith,

   even though the court concluded that the party "should have moved

   more quickly to place litigation holds on the routine destruction

   of certain documents and electronic data[.]" 263 F.R.D. at 153; see

   also Hicks v. Wegmans Food Market, No. 09-624, 2011 WL 499368, at

   *2 (D.N.J. Feb. 10, 2011) (denying plaintiff's request for an

   adverse    spoliation    inference    where    plaintiff    alleged    that

   defendant, at a minimum, was negligent in its destruction or

   failure to produce the evidence, and at worst, intentionally

   destroyed or failed to produce the evidence in bad faith, where

   plaintiff offered "no evidence that the destruction was in bad

   faith").   State National, however, asserts that adverse inferences

   are appropriate unless the County proves "accidental" destruction

   and, relying on Mosaid, further asserts that the culpability of the

   offending party is irrelevant.            (State National's Reply 11.)

   Moreover, State National asserts that the County's knowing and

   deliberate use of an automatic deletion function and continued

   failure to recycle backup tapes meets the intentional conduct if

   such a level of culpability is required.         (Id. at 10-11.)

              The Court finds that where a party has breached the duty

   to preserve evidence by failing to institute a litigation hold

   after the commencement of a lawsuit, and notwithstanding a specific

   request by opposing counsel to implement such a hold, such conduct
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   satisfies the requisite culpability for imposing a spoliation

   inference.     See Mosaid, 348 F. Supp. 2d at 338 ("[N]egligent

   destruction of relevant evidence can be sufficient to give rise to

   the spoliation inference.")        In this context, a finding of bad

   faith   or   intentional   misconduct    is   not    necessary   to   warrant

   sanctions.    See sanofi-aventis Deutschland GmbH v. Glenmark Pharm.

   Inc., No. 07-cv-5855, 2010 WL 2652412, *4 (D.N.J. July 1, 2010).

   See also Mosaid, 348 F. Supp. 2d at 338.            Rather, the failure to

   institute    litigation    holds   in   pending     litigation   constitutes

   sufficient culpable conduct to warrant sanctions, and such conduct

   equates to gross negligence.5      See, e.g., Crown Castle USA, 2010 WL

   1286366 (W.D.N.Y. Mar. 31, 2010) at *11).           As noted by the Court in

   Crown, "'failure to implement a litigation hold at the outset of

   litigation amounts to gross negligence.'"           Crown, 2010 WL 1286366,

   at *10 (quoting Toussie v. Cnty. of Suffolk, No. 01-6716, 2007 WL

   4565160, at *8 (E.D.N.Y. Dec. 21, 2007)).           Consequently, the Court

   finds that State National has met this factor and the County's

   failure to implement a litigation hold in this case is grossly




   5. The Court's finding as to the requisite culpability is
   limited to a spoliation inference, and as in Mosaid, "is not
   meant to infer that a lesser showing of culpability permits
   imposition of the far more serious sanctions-dismissal, summary
   judgment, and exclusion of evidence." 348 F. Supp. 2d at 338
   n.11. Moreover, in light of the Court's finding that gross
   negligence is the requisite culpability standard for evaluating
   whether to impose a spoliation inference, the Court does not
   assess, and makes no finding as to, whether the County's conduct
   in this case constituted bad faith or intentional misconduct.
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   negligent and sufficiently culpable to meet the second factor for

   imposition of the sanctions sought here.

              With respect to the third factor -- whether the evidence

   that was destroyed or withheld was relevant to the claims or

   defenses -- the Court finds that State National has failed to meet

   its   burden   because   it    has       not   demonstrated      that    there     are

   additional emails in existence which the County did not produce.

   State National contends that the allegedly destroyed evidence might

   have included, but is not limited to, email communications: (1)

   between Donna Whiteside and her supervisors at the Office of County

   Counsel; (2) between employees of the Office of County Counsel and

   County   Administrators       or    Freeholders;       and   (3)     between     Donna

   Whiteside and Michael Brennan concerning the Anderson litigation.

   (See State National's Reply 12 n.4.)                    In this regard, State

   National has    enumerated         the    types   of   emails   it     asserts    were

   deleted.   The County asserts, however, that State National has not

   presented any evidence that employees and attorneys within the

   Office of County Counsel regularly corresponded with each other by

   way of email, or that the attorneys in that Office regularly

   reviewed or discussed cases via email (see County's Opp'n 22-23),

   and points to relevant testimony in the case which reflects that

   County   Counsel   discussed        the    Anderson     case    with    the    county

   administrator in person.           (Transcript [Doc. No. 370] 46:21-48:1,

   Nov. 5, 2010) (citing Ex. B [Doc. No. 299-2] Dep. of Michael

   Brennan, Esq. 122:20-123:4).
                                             18
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              State National relies on Mosaid and TelQuest to support

   its position that it need not demonstrate that relevant information

   was deleted as a result of the litigation hold.              However, in Mosaid

   and TelQuest, the moving party submitted affidavits in support of

   their applications. Specifically, in Mosaid, the Court relied upon

   an affidavit by a former employee of the non-moving party which

   testified "to the extensive use of e-mail within [the non-moving

   party's company] and the subject matter that [was] often times

   discussed in those e-mails."           348 F. Supp. 2d at 336.          Similarly,

   in TelQuest, the Court considered the testimony of the party's

   forensic consultant who testified that certain business records

   were among documents discovered during the forensic analysis, and

   the testimony of one of the defendants that certain paper business

   records were discarded.          2009 WL 690996, at *5.            Here, State

   National asserts that the existence of emails between Whiteside and

   her supervisors and between the County Counsel's Office and County

   administrators is "not only plausible, they are expected."                  (State

   National's     Reply   12.)     State     National    also    asserts,     without

   citation to     any    record   or    testimony,     that    "virtually    all   of

   Whiteside's correspondence during the course of the Anderson case

   were via email."        (Id.)        However, on the record submitted in

   connection with this motion, the Court concludes that this factor

   has not been met.          No sufficient affidavit or transcript of

   testimony has been submitted to support this factor.                       In the

   absence   of    specific      testimony      or   other     evidence,     such   as
                                           19
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   affidavits, that the types of email communications State National

   alleges are missing from the County's production existed, State

   National has not sufficiently demonstrated that the emails it

   asserts are missing existed.             See e.g., sanofi-aventis, 2010 WL

   2652412 at *4 (court finding that based on record "[p]laintiffs'

   contention that any subsequent communication between [defendants'

   personnel] automatically occurred via email or was undeniably

   memorialized in some written communication is too speculative to

   support a claim for spoilation."           See also Point Blank Solutions,

   2011    WL   1456029,   at   *21   (concluding        that   the    party    seeking

   spoliation sanctions bears the "burden to produce some evidence

   that the documents it alleges are missing actually existed at one

   time" because the court could not simply assume that the moving

   party's possession of certain emails which were not produced in

   discovery meant that additional emails must have existed and were

   similarly not produced).

                Accordingly, the Court finds that the record developed to

   date is insufficient to permit a spoliation inference instruction

   in this case.       Therefore, State National's motion for a spoliation

   inference is denied without prejudice.                State National may renew

   its    application    at   any   trial    in   this    matter      if   evidence   of

   spoliation     at    trial   warrants      the   Court       giving     an   adverse

   inference.6

   6. The Court makes no finding with respect to whether the claims
   or counterclaims will proceed past dispositive motion practice to
   trial, particularly since a number of dispositive motions have
                                   20
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              With regard to State National's request for reasonable

   attorneys' fees and costs, the Court finds that the County's

   failure to institute a litigation hold, to disable its automatic

   email deletion program and to preserve copies of its backup tapes,

   warrants the imposition of reasonable attorneys' fees and costs

   associated with the time incurred by State National in assessing

   the scope of the County's email production. In awarding attorneys'

   fees and costs, the Court notes that "[s]poliation sanctions serve

   a remedial function by leveling the playing field or restoring the

   prejudiced    party    to    the   position      it would      have      been   without

   spoliation.     They also serve a punitive function, by punishing the

   spoliator for its actions, and a deterrent function, by sending a

   clear message to other potential litigants that this type of

   behavior will not be tolerated and will be dealt with appropriately

   if need be."     Mosaid, 348 F. Supp. 2d at 335; see also Booker v.

   Mass. Dept. of Pub. Health, 612 F.3d 34, 46 (1st Cir. 2010)

   (recognizing     that       the    spoliation         inference     is     "based       on

   prophylactic and punitive rationales: it serves to deter litigants

   from destroying relevant evidence prior to trial and to penalize a

   party   whose    misconduct        creates       the    risk   of     an       erroneous

   judgment.").      In    this      case,   when    a    party   fails      to    issue    a

   litigation hold despite pending litigation and does not preserve

   emails of relevant custodians in breach of its duty, the adversary

   is forced to explore whether sanctions such as an adverse inference

   recently been denied without prejudice by the District Judge.
                                   21
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   or more drastic sanctions - dismissal or suppression of evidence -

   are warranted.    To perform such an investigation requires the non-

   breaching party to expend attorney time, and in some cases, expert

   fees   to   determine   the   extent    and   scope   of   the   deletion   or

   destruction.     If, following such an investigation, there is no

   basis to award such spoliation sanctions or, as in this case, a

   court concludes that there is a failure to demonstrate that an

   adverse inference is warranted, the non-breaching party still has

   suffered damages in the context of attorneys' fees and costs.

   Consequently, in light of the failure to implement the litigation

   hold here, the Court finds that an award of reasonable attorneys'

   fees and costs incurred in connection with investigating the scope

   of the County's email deletion is appropriate in this case.             See,

   e.g., Medeva Pharma Suisse A.G. v. Roxane Labs., Inc., No. 07-5165,

   2011 WL 310697, at *19 (D.N.J. Jan. 28, 2011); see generally Point

   Blank Solutions, 2011 WL 1456029, at *2, 31 n.24 (noting that

   courts have "awarded fees and costs to litigants while declining to

   issue an adverse inference instruction" where the culpable conduct

   at issue was gross negligence which "resulted in the loss of

   evidence at a time when the producing party was undeniably under a

   preservation duty to the moving party.").             In this regard, the

   Court will permit State National to submit an appropriate affidavit

   setting forth with specificity the reasonable attorneys' fees and

   expenses incurred, and explaining why such fees and expenses would

   not have been incurred but for the County's failure to preserve.
                                          22
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   The County may file, by no later than August 1, 2011, a response on

   the issue of reasonableness of the fees and costs sets forth in the

   affidavit submitted by State National.

              CONSEQUENTLY, for the reasons set forth above and for

   good cause shown:

              IT IS on this 30th day of June 2011,

              ORDERED    that   Plaintiff    State   National's   motion   for

   sanctions against the County of Camden [Doc. No. 299], shall be and

   is hereby, DENIED IN PART without prejudice to the extent State

   National seeks adverse inferences, and GRANTED IN PART to the

   extent State National seeks reasonable attorneys' fees and costs

   associated with the County's failure to institute a litigation hold

   and preserve email and backup tapes; and it is further

              ORDERED that State National is granted leave to file by

   no later than July 20, 2011 an affidavit setting forth with

   specificity the reasonable attorneys' fees and expenses incurred,

   and explaining why such fees and expenses would not have been

   incurred but for the County's failure to preserve; and it is

   further

              ORDERED that the County may file, by no later than August

   1, 2011, a response to State National's affidavit.


                                            s/ Ann Marie Donio
                                            ANN MARIE DONIO
                                            United States Magistrate Judge

   cc:   Hon. Noel L. Hillman

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